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         Proposed Attorneys for Debtors and
13       Debtors in Possession

14                               UNITED STATES BANKRUPTCY COURT
15                               NORTHERN DISTRICT OF CALIFORNIA
16                                            SAN JOSE DIVISION
17                                                     )
     In re:                                                Case No. 20-50682 (MEH)
                                                       )
18   WAVE COMPUTING, INC., et al.,                     )   Chapter 11 (Joint Administration Requested)
19                1
                                                       )
          Debtors.                                     )   Assigned to the Hon. M. Elaine Hammond
20                                                     )
                                                       )   APPLICATION FOR ORDER
21                                                     )   APPROVING DESIGNATION OF
                                                       )   LAWRENCE R. PERKINS AS
22                                                     )   RESPONSIBLE INDIVIDUAL
                                                       )   PURSUANT TO B.L.R. 4002-1
23                                                     )
                                                       )   [No Hearing Required]
24                                                     )
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26   1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
     identification number, as applicable, are: Wave Computing, Inc. (4264), MIPS Tech, Inc. (8247),
27   Hellosoft, Inc. (8640), Wave Computing (UK) Limited (None), Imagination Technologies, Inc.
     (6967), Caustic Graphics, Inc. (7272), and MIPS Tech, LLC (2161). The Debtors’ mailing address is
28   3201 Scott Blvd, Santa Clara, CA 95054.

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                             6 Filed: 04/27/20   Entered:
                                        TO APPOINT        04/27/20
                                                   RESPONSIBLE     18:47:58
                                                               INDIVIDUAL            Page 1 of 5
 1          Wave Computing, Inc. (“Wave”) and its debtor affiliates, as debtors and debtors in possession

 2   (collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”), hereby

 3   submit this Application (the “Application”), pursuant to Rule 4002-1 of the Bankruptcy Local Rules

 4   for the United States District Court for the Northern District of California (the “Local Bankruptcy

 5   Rules”), for entry of an order appointing Lawrence R. Perkins as the individual with primary

 6   responsibility for the duties and obligations of each of the Debtors during the Chapter 11 Cases (the

 7   “Responsible Individual”).

 8          By this Application, the Debtors seek to appoint Lawrence Perkins, the Chief Restructuring

 9   Officer of Wave, as the Responsible Individual for each Debtor in accordance with Bankruptcy Local

10   Rule 4002-1.

11          Mr. Perkins’ contact information is:
                   Lawrence R. Perkins
12                 SierraConstellation Partners LLC
                   355 S. Grand Ave.
13                 Suite 1450
                   Los Angeles, CA 90071
14                 Tel: 213-289-9061
                   Email: lperkins@scpllc.com
15
            WHEREFORE the Debtors respectfully request entry of an order, substantially in the form
16
     attached hereto as Exhibit A (the “Proposed Order”), granting the relief requested herein and such
17
     other and further relief as the Court may deem just and appropriate.
18

19
     Dated: April 27, 2020
20                                                SIDLEY AUSTIN LLP
21
                                                  /s/ Samuel A. Newman
22                                                Samuel A. Newman

23                                                Proposed Attorneys for Debtors and
                                                  Debtors in Possession
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 1                                      EXHIBIT A

 2                                  PROPOSED ORDER

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14                               UNITED STATES BANKRUPTCY COURT
15                               NORTHERN DISTRICT OF CALIFORNIA
16                                            SAN JOSE DIVISION
17                                                        )
     In re:                                                   Case No. 20-50682 (MEH)
                                                          )
18   WAVE COMPUTING, INC., et al.,                        )   Chapter 11 (Joint Administration Requested)
19                                                        )
          Debtors.1                                       )   Assigned to the Hon. M. Elaine Hammond
20                                                        )
                                                          )   ORDER APPROVING DESIGNATION OF
21                                                        )   LAWRENCE R. PERKINS AS
                                                          )   RESPONSIBLE INDIVIDUAL
22                                                        )   PURSUANT TO B.L.R. 4002-1
                                                          )
23                                                        )   [No Hearing Required]
                                                          )
24                                                        )
25

26   1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
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27   Hellosoft, Inc. (8640), Wave Computing (UK) Limited (None), Imagination Technologies, Inc.
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28   3201 Scott Blvd, Santa Clara, CA 95054.

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 1

 2          Upon the application (the “Application”),2 dated April 27, 2020 of Wave Computing, Inc.

 3   (“Wave”) and its debtor affiliates, as debtors and debtors in possession (collectively, the “Debtors”)

 4   in the above-captioned chapter 11 cases (the “Chapter 11 Cases”), pursuant to pursuant to Rule 4002-1

 5   of the Bankruptcy Local Rules for the United States District Court for the Northern District of

 6   California (the “Bankruptcy Local Rules”), for entry of an order appointing Lawrence R. Perkins as

 7   the individual with primary responsibility for the duties and obligations of each of the Debtors during

 8   the Chapter 11 Cases (the “Responsible Individual”); and this Court having reviewed the Application;

 9   and upon all of the proceedings had before this Court and after due deliberation and sufficient cause

10   appearing therefor,

11          IT IS HEREBY ORDERED THAT:

12          1.   The Application is granted as provided herein.

13          2.   Lawrence R. Perkins, Chief Restructuring Officer of Wave, is hereby appointed as the

14   Responsible Individual for each Debtor during these Chapter 11 Cases pursuant to Bankruptcy Local

15   Rule 4002-1.

16          3.   Mr. Perkins’ contact information is:

17                  Lawrence R. Perkins
                    SierraConstellation Partners LLC
18                  355 S. Grand Ave.
                    Suite 1450
19                  Los Angeles, CA 90071
                    Tel: 213-289-9061
20                  Email: lperkins@scpllc.com
21          4.   This Court shall retain jurisdiction to hear and determine all matters arising from or related

22   to the implementation, interpretation, or enforcement of this Order.

23                                          ** END OF ORDER **

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      All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to
28   such terms in the Application.

                                               2
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                        APPLICATION 04/27/20
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